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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


    EDWARD JACOB LANG, et al.,

                     Plaintiffs,

            v.
                                                                       No. 24-cv-295 (DLF)
    DANIEL THAU, Metropolitan Police
    Department, et al.,

                      Defendants.


                                 STANDARD ORDER FOR CIVIL CASES

           This Standard Order applies to all cases assigned to the Civil Calendar of Judge Dabney

L. Friedrich. To administer this civil action fairly and in a manner that is consistent with the

litigants’ general interest in completing this litigation efficiently, it is

           ORDERED that all counsel and pro se litigants 1 (“counsel”) must be familiar with both

the Federal Rules of Civil Procedure and the Local Civil Rules of the United States District

Court for the District of Columbia. 2 It is further

           ORDERED that all counsel must comply with this Standard Order, including the

attached Appendix. The Court will hold the parties and counsel responsible for following these

directives; failure to conform to this Order may, when appropriate, result in the imposition of

sanctions.


                                                                          ________________________
                                                                          DABNEY L. FRIEDRICH
February 2, 2024                                                          United States District Judge



1
    Assistance for pro se litigants is available at https://www.dcd.uscourts.gov/pro-se-help.
2
    The Local Civil Rules are available at http://www.dcd.uscourts.gov/court-info/local-rules-and-orders/local-rules.
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                        APPENDIX TO STANDARD ORDER


1.   COMMUNICATIONS WITH THE COURT

     (a)      Form. Communications with the Court should be in writing and only by
              written motion, opposition, and reply—not by letter or email. Ex parte
              communication with Judge Friedrich (either directly or through her law
              clerks) is inappropriate.

     (b)      Status or Scheduling Inquiries. Oral inquiries concerning the status or
              scheduling of any pending matter are disfavored. If counsel nevertheless
              needs to make such an oral inquiry, it shall be directed to the Courtroom
              Deputy, Mr. Jonathan Hopkins, at (202) 354-3387. If Mr. Hopkins is
              unavailable, the inquiry shall be made to his designated substitute in the
              Clerk’s Office. Counsel shall follow Mr. Hopkins’s (or his substitute’s)
              instructions. In an actual emergency, parties may contact Chambers at
              (202) 354-3400.

     (c)      Assistance with CM/ECF. Chambers cannot assist with questions about
              CM/ECF. Such inquiries should be made to the CM/ECF Help Line at
              (202) 354-3190.

2.   HEARINGS

     (a)      Hearings and Conferences. All courtroom proceedings ordinarily will
              happen in Courtroom 14 of the E. Barrett Prettyman United States
              Courthouse, 333 Constitution Ave., NW, Washington, DC 20001.

     (b)      Rescheduling Hearings.

              i)     Requests to reschedule hearings are discouraged.

              ii)    If the Court is closed or experiences a delayed opening, the
                     Courtroom Deputy will reschedule any hearings as necessary.

3.   FILING GUIDELINES

     (a)      Service of the Complaint. If the plaintiff fails to serve properly a copy of
              the complaint as Federal Rule of Civil Procedure 4 prescribes, the Court
              may dismiss the action.

     (b)      Amended Pleadings. Any amended pleadings shall be accompanied by a
              redline comparison of the original and amended pleading.




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     (c)      Electronic Case Filing (ECF).

              i)     Except as otherwise provided in LCvR 5.4, all filings must be made
                     through the Court’s CM/ECF system.

              ii)    A pro se party may obtain a CM/ECF password from the Clerk with
                     leave of Court. To obtain leave of Court, the pro se party must file
                     a written motion entitled “Motion for CM/ECF User Name and
                     Password,” describing the party’s access to the internet, confirming
                     the capacity to file documents and receive the filings of other
                     parties electronically on a regular basis, and certifying that he or
                     she either has successfully completed the entire Clerk’s Office on-
                     line tutorial or has been permitted to file electronically in other
                     federal courts.

              iii)   Instructions for filing sealed documents in non-sealed cases are
                     available at http://dcd-
                     dev.jdc.ao.dcn/sites/dcd/files/AttySealedCivilREVMay2014.pdf.

     (d)      Courtesy Copies. Counsel shall provide Chambers, not the Clerk’s
              Office, with a printed courtesy copy, with ECF headers, of any electronic
              submission that, along with exhibits, numbers one hundred (100) pages
              or more in total length. Such courtesy copies shall be in binders,
              three-hole punched, with double-sided pages. Exhibits shall be tabbed.
              The Court otherwise does not accept courtesy copies; the Court will
              contact the filing party if a courtesy copy of any particular submission is
              required.

4.   DISCOVERY

     (a)      Discovery Material. Discovery material shall not be filed with the Court
              unless so ordered. See LCvR 5.2(a).

     (b)      Discovery Disputes. Counsel are referred to LCvR 26.2 and are expected
              to comply fully with its directives. Before bringing a discovery dispute to
              the Court’s attention, the parties shall confer in good faith in an attempt to
              resolve the dispute informally. See Fed. R. Civ. P. 26(c), 37; LCvR 7(m).
              If the parties are unable to resolve the dispute informally, they shall
              jointly email the Court (at Friedrich_Chambers@dcd.uscourts.gov),
              providing a clear, concise description of the issues in dispute and
              proposing dates and times for a teleconference to discuss those issues.
              Counsel shall not file any discovery-related motion without a prior
              telephone conference with the Court and opposing counsel.




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5.   MOTIONS AND STIPULATIONS

     Motions Generally. Counsel must comply with the following instructions when
     briefing any motion; failure to follow these instructions may result in sua sponte
     denial of the motion:

     (a)      Duty to Confer on Nondispositive Motions. The Court will summarily
              deny motions that are subject to LCvR 7(m) but do not contain the
              requisite statement.

     (b)      Rule 12(d): Matters Outside the Pleadings

             i)     The parties are reminded that a motion to dismiss under Rule
                    12(b)(6) or a motion for judgment on the pleadings under Rule
                    12(c) presenting matters outside the pleadings will be converted to
                    a motion for summary judgment if the Court does not exclude those
                    matters. Fed. R. Civ. P. 12(d).

             ii)    If such a motion presents matters outside the pleadings, all parties
                    must comply fully will the instructions set forth below regarding
                    motions for summary judgment.

     (c)      Motions for Summary Judgment—Cases Involving Judicial Review of
              Agency Action

             i)     In accordance with Local Civil Rule 7(h)(2), each motion for
                    summary judgment, and opposition thereto, shall include a
                    statement of facts with references to the administrative record. The
                    parties must furnish precise citations to the portions of the
                    administrative record on which they rely; the Court need not
                    consider materials not specifically identified. See Fed. R. Civ.. P.
                    56(c)(3).

             ii)    In accordance with Local Civil Rule 7(n), the parties shall provide
                    the Court with a joint appendix containing copies of those portions
                    of the administrative record that are cited or otherwise relied upon
                    in any memorandum in support of, or in opposition to, a motion for
                    summary judgment.

     (d)      Motions for Summary Judgment—All Other Cases

             i)     Every motion for summary judgment and opposition to such motion
                    must comply with LCvR 7(h), which requires that each party
                    submitting a motion for summary judgment attach a statement of
                    material facts for which that party contends there is no genuine
                    dispute, with specific citations to those portions of the record upon
                    which the party relies in fashioning the statement. The party
                    opposing the motion must, in turn, submit a statement


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               enumerating all material facts that the party contends are
               genuinely disputed and thus require trial. LCvR 7(h)(1). The
               parties are strongly encouraged to review Jackson v. Finnegan,
               Henderson, Farabow, Garrett & Dunner, 101 F.3d 145 (D.C. Cir.
               1996), on the subject of LCvR 7(h).

        ii)    The moving party’s statement of material facts shall be a short and
               concise statement, in numbered paragraphs, of all material facts
               as to which the moving party claims there is no genuine dispute.
               The statement must contain only one factual assertion in each
               numbered paragraph.

        iii)   The party responding to a statement of material facts must (1)
               restate the movant’s statement of undisputed material fact in
               numbered paragraphs, and (2) immediately following each
               numbered paragraph state the opponent’s response to the stated
               fact.

        iv)    If the responding party has additional facts that are not directly
               relevant to its response to any specific paragraph, it must identify
               such facts in consecutively numbered paragraphs at the end of its
               responsive statement of facts. If such additional factual
               allegations are made, the movant must file a responsive
               statement of its own with its reply brief.

        v)     If an opposition fails to include a separate concise statement of
               genuine disputed issues, or a response to the movant’s statement of
               facts, or specific references to the parts of the record relied upon to
               support the statement or response, the Court may treat as
               conceded any facts asserted in the movant’s statement of facts.

        vi)    The parties must furnish precise citations to the portions of the
               record on which they rely; the Court need not consider materials
               not specifically identified. Fed. R. Civ. P. 56(c)(1)(A), (c)(3).

(e)      Motions for Reconsideration. Motions for reconsideration of prior rulings
         are discouraged. Such motions shall be filed only when the requirements
         of Fed. R. Civ. P. 54(b), 59(e), and/or 60(b) are met. Any such motion
         shall not exceed ten (10) pages in length. Moreover, the Court will not
         entertain (a) motions that simply reassert arguments the party previously
         raised and the Court rejected, or (b) arguments that a party could have
         raised previously but now raises for the first time.

(f)      Stipulations and Joint Motions for Protective Orders.

         i)    If the parties desire for this Court to sign any stipulation or enter an
               order approving it, they must file a motion making that request.
               The motion must explain why cause exists for the Court to approve


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                     the stipulation, and the parties must submit the text of the proposed
                     stipulation as an attachment to the motion.

              ii)    Joint motions to approve stipulated protective orders must contain a
                     statement of good cause. See Fed. R. Civ. P. 26(c); Klayman v.
                     Judicial Watch, Inc., 247 F.R.D. 19, 23 (D.D.C. 2007).

6.   ALTERNATIVE DISPUTE RESOLUTION

     (a)      Submission to alternative dispute resolution, e.g., mediation or neutral
              evaluation, is encouraged and available upon request to the Court at any
              time. This includes a referral to the Circuit Executive’s Office or to a
              Magistrate Judge. The parties shall only request mediation, neutral
              evaluation, or referral to the Circuit Executive’s Office or to a Magistrate
              Judge if all parties agree to such an assignment.

7.   SETTLEMENT

     (a)      Notification of Settlement. If the case settles in whole or in part, Plaintiff
              shall promptly notify the Court of the settlement.

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